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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


ARTHUR CARSON                                                                         PLAINTIFF

V.                                  CASE NO. 4:18-cv-275-SWW

LL UNIVERSITY LLC d/b/a STEVE LANDERS KIA,
AND RUSSELL COMSTOCK,                                                               DEFENDANTS



     SEPARATE DEFENDANT LL UNIVERSITY LLC d/b/a STEVE LANDERS KIA’S
               RESPONSE TO PLAINTIFF’S MOTION TO STRIKE


         Comes now the Separate Defendant, LL University LLC d/b/a Steve Landers Kia, by and

through its attorneys, James, Carter & Priebe, LLP, and for its Response, states:

         1.    Plaintiff’s Motion should be denied for several reasons.

         2.    The certificate of service to the Answer states that the Answer was mailed via

U.S. Mail and via e-mail to the Plaintiff through the Clerk’s CM/ECF system. See Answer Doc.

21. Both means of service are in accordance with Fed. R. Civ. P. 5, and the Local Rules of this

Court.

         3.    Plaintiff admits he received the Answer via the “Court’s docketing in this case.”

         4.    When Plaintiff complained that he did not receive a copy of the Answer, another

copy was mailed to him.

         5.    The Plaintiff has not suffered any prejudice.

         6.    The Motion to Strike is not appropriate, because no Fed. R. Civ. P. 12(f)(2)

grounds are stated in the Motion.

         7.    The All Writs Act is not applicable.




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        WHEREFORE, Separate Defendant, LL University LLC d/b/a Steve Landers Kia, prays

that the motion be denied, for its costs incurred herein, including reasonable attorneys’ fees, and

for all other just and proper relief.

                                              Respectfully submitted,

                                              /s/ Daniel R. Carter
                                              Daniel R. Carter (AR Bar # 80023)
                                              JAMES, CARTER & PRIEBE, LLP
                                              500 Broadway, Suite 400
                                              Little Rock, Arkansas 72201
                                              Tel 501.372.1414; Fax 501.372.1659
                                              E-mail: dcarter@jamescarterlaw.com

                                              Attorney for
                                              LL University LLC d/b/a Steve Landers Kia


                                   CERTIFICATE OF SERVICE

       I hereby certify that on August 22, 2018, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

        Arthur Carson
        artcarson67@gmail.com

and via U.S. Postal Service, postage prepaid to:

        Arthur Carson
        2000 Rice Street
        Little Rock AR 72202
        Tel 501.508.1090
                                              /s/ Daniel R. Carter




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